                                                              Case 2:21-cv-06804-FMO-PD Document 20 Filed 11/05/21 Page 1 of 2 Page ID #:57




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                                                                                          UNITED STATES DISTRICT COURT
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                                                              8                         CENTRAL DISTRICT OF CALIFORNIA
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          CALIFORNIA ◆GEORGIA ◆FLORIDA ◆TENNESSEE ◆NEW YORK




                                                                                                    WESTERN DIVISION
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                                                                   JASON LANGLEY,                                    Case No.: 2:21-cv-06804-FMO
                                                              11
                                                                                                                     (PDx)
                                                              12                                       Plaintiff,
                                                              13                                                     ORDER OF DISMISSAL
SRIPLAW




                                                                   v.                                                WITHOUT PREJUDICE
                                                              14
                                                              15   TOURISM HOLDINGS USA, INC.
                                                                   AND EL MONTE RENTS, INC.,
                                                              16
                                                              17                                   Defendants.
                                                              18
                                                              19
                                                                         Before the Court is the Parties’ Stipulation of Dismissal.
                                                              20
                                                                         IT IS HEREBY ORDERED THAT:
                                                              21
                                                                         This case is hereby dismissed without prejudice, with each party to bear its
                                                              22
                                                                   costs, attorneys' fees, and expenses.
                                                              23
                                                              24         SO ORDERED.
                                                              25
                                                              26 DATED: November 5, 2021
                                                                                                                      /s/
                                                              27
                                                                                                             HONORABLE FERNANDO M. OLGUIN
                                                              28                                             UNITED STATES DISTRICT JUDGE


                                                                             ORDER GRANTING THE PARTIES’ STIPULATION OF DISMISSALSTIPULATION OF DISMISSAL
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          CALIFORNIA ◆GEORGIA ◆FLORIDA ◆TENNESSEE ◆NEW YORK




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SRIPLAW




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